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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


A.M., a minor, by and through her mother,            )
SHAEL NORRIS                                         )
                                                     )
                     Plaintiff                       )
                                                     )
v.                                                   )
                                                         Case No. 2:19-cv-00466-LEW
                                                     )
                                                     )
CAPE ELIZABETH SCHOOL DISTRICT, et al.               )
                                                     )
                                                     )
                    Defendants                       )




                         DECLARATION OF DONNA WOLFROM

       Pursuant to 28 U.S.C. § 1746, I, Donna Wolfrom, declare as follows:

       1.      I am the Superintendent of Schools for the Cape Elizabeth School Department, a

job I have held since July 1, 2018.

       2.      On September 16, 2019, I was informed that several sticky notes were found in

two girls’ bathrooms at Cape Elizabeth High School (“CEHS”). Our first concern was for the

safety of our students given the information that a rapist was in the school. Building

administration, together with the School Department’s Title IX Coordinator Cathy Stankard,

immediately started a Title IX investigation to determine if there was a known rapist at CEHS.

       3.      I was kept informed as the investigation proceeded and I sat in on some but not all

of the more than 40 student interviews that administration conducted.

       4.      One interview that I sat in on was an interview of A.M and her mother, Plaintiff

Shael Norris on September 17, 2019. It was a lengthy interview during the course of which
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A.M. went from denying that she knew anything about the sticky notes to admitting that she had

written and posted at least one in the second floor bathroom.

       5.      At this point in the process, administration was still trying to determine if there

was a particular individual in the school who proposed an immediate risk to our students so

during the interview, A.M. was asked for any information she had about the presence of a rapist

in CEHS. In response, she described three separate instances of sexual assault that she claimed

one particular male student at the high school whom she identified by name and I will refer to

herein as “Student 1” had been involved in.

       6.      Student 1 was the only alleged rapist that A.M. identified during the interview and

she made it clear that he was the person she was referring to when she wrote the sticky note. She

disclosed that he was the person she had in mind when she wrote the note. She told us that she

resented the fact that he was “idolized” (her word) by faculty at the school and noted that he got

a citizenship award from the school, which she felt, was undeserved. She said that school

administrators did not address the sexual assault he had engaged in and argued that he should not

be in the school. She also stated that her purpose in writing the notes was to instill fear.

       7.      At around the time that the administrators performing the Title IX claim were

coming to the conclusion that this was not a Title IX issue and that the rumors they had been told

about Student 1 were not true, I was told by CEHS Principal Jeffrey Shedd that Student 1 and

his mother were alleging that Student 1 had been bullied as a result of the notes and their

aftermath. When he received this complaint, Principal Shedd began a bullying investigation with

the help of Assistant Principal Carpenter.

       8.      Messrs. Shedd and Carpenter kept me informed as the bullying investigation was

proceeding and I participated in interviews of several students including another interview of
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A.M. Prior to the second meeting with a.M., we reviewed Policy JICK and JICK-R to see if we

had to inform A.M. that we were conducting a bullying investigation before interviewing her.

Our policy did not require that. However, both Mr. Shedd and Mr. Carpenter made it clear

during the interview that the notes had caused substantial disruption in the school and suggested

that there would be discipline as a result.

       9.      During that interview, A.M. continued to admit posting a note and claimed that

other students had done so as well. She was unwilling to disclose the names of those other

students.

       10.     By September 26, 2019, the bullying investigation was completed and Mr. Shedd

and Mr. Carpenter discussed with me their intention to suspend all three girls who they

determined posted sticky notes, one for one day, one for two days and A.M. for five days. I

concurred with their analysis. However, on the following Monday, September 30, 2019, Mr.

Shedd called me to say that he had changed his mind and was only going to suspend A.M. for

three days. He told me that he planned to meet with Student 1 and his parents to tell them the

results of the investigation first and then he would meet with the three girls and their parents.

       11.     On October 4, 2019, an article was published in the Portland Press Herald in

which A.M. was featured. This article was published after Mr. Shedd told me his decision to

suspend A.M. for three days. After reading the article, we were concerned that suspending A.M.

would appear to be in retaliation for what she said to the newspaper. However, we knew that

was incorrect and decided that it was important to follow our policy and address the serious

incident of bullying that Principal Shedd had determined occurred.

       12.     After Mr. Shedd communicated his discipline decision to A.M. and her mother,

they filed an appeal of that decision to me.
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       13.       We met on October 9, 2019 for the purpose of hearing the appeal. During their

presentation, A.M. claimed that the sticky note was not directed at any person, a statement I

knew of my own personal knowledge was at odds with what she had said before. A.M.’s mother

also expressed disappointment that A.M. had not been appointed to a School Committee group

appointed to study our policies.

       14.       I considered what A.M. said during our meeting as well as a written submission

and an audio tape of one of our meetings. Thereafter, I decided to deny A.M.’s appeal. I set

forth my reasons for the denial of the appeal in a letter dated October 11, 2019, a copy of which

is attached as Exhibit 1. The letter accurately sets forth the reasons for my decision to deny

A.M.’s appeal.




I declare under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

       Executed: October 16, 2019                            /s/ Donna Wolfrom
                                                             Donna Wolfrom
